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 5
     ATTORNEY FOR DEFENDANT
 6   KOUTKEO THI
 7
 8               IN THE UNITED STATES DISTRICT COURT FOR THE
 9                      EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,             )       CR.-S-08-391-GEB
11                                         )
         PLAINTIFF,                                )    STIPULATION AND PROPOSED
12   ORDER
                                 )                 TO CONTINUE STATUS CONFERENCE
13         v.                    )                 TO JANUARY 16, 2009
                                 )
14 KEOUDONE N. PHAOUTHOUM, )
   et al.,                       )
15                               )
           DEFENDANTS.           )
16 _______________________________)
17
           Plaintiff United States of America, by its counsel, Assistant United States
18
     Attorney, Mr. Michael M. Beckwith, and defendant Keoudone N. Phaouthoum by his
19
     attorney Ms. Katherine E. Lothrop, defendant Ting Thavisak, by his attorney Mr.
20
     Hayes H. Gable, III, defendant Zi Lei, by his attorney, Mr. J. Clark Head, defendant
21
     De Yang, by his attorney, Mr. David Grow, defendant John Li, by his attorney Mr.
22
     Johnny L. Griffin, III and defendant Koutkeo Thi, by her attorney Mr. James R.
23
     Greiner, hereby stipulate and agree that the status conference calendared for Friday,
24
     November 7, 2008, at 9:00 a.m. before the Honorable United States District Court
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     Judge, Garland E. Burrell, Jr., may be continued to Friday, January 16, 2009, at
26
     9:00 a.m.
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28                                             1
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 1         The Court’s courtroom deputy, Ms. Shani Furstenau, has been contacted to
 2   ensure the Court’s calendar was available for that date and the Court is available on
 3   Friday, January 16, 2009.
 4         There is no trial date set.
 5         The Court has previously made a finding that this case is complex pursuant to
 6   the Speedy Trial Act, Title 18 U.S.C. section 3161(h)(8)(B)(ii) and local code T-2,
 7   which allowed the Court to make the finding that this case is so unusual or so
 8   complex, due to the number of defendants, the nature of the prosecution, or the
 9   existence of novel questions of fact or law, that it is unreasonable to expect adequate
10   preparation for pretrial proceedings or the trial itself within the time limits established
11   by the Speedy Trial Act. (See Docket Entries # 43 and 52). In addition, the Court
12   previously found from the record made with factual support, that time is to be
13   excluded under local code T-4, that time is to be excluded for the reasonable time
14   necessary for effective preparation by defense counsel and Title 18 U.S.C. section
15   3161(h)(8)(B)(iv), of the speedy trial act. (See Docket Entries # 43 and 52)
16                        PROCEDURAL STATUS OF THE CASE
17         On August 11, 2008, the government filed a criminal complaint. (See Docket
18   Entry #1). On August 28, 2008, the government filed a six (6) count Indictment
19   against the six (6) defendants. (See Docket Entry # 40)
20         On August 28, 2008, five (5) of the defendants were arraigned on the six (6)
21   count Indictment and a status conference was scheduled for November 7, 2008. (See
22   Docket Entry # 43)The Court found that this case is complex pursuant to the Speedy
23   Trial Act, Title 18 U.S.C. section 3161(h)(8)(B)(ii) and local code T-2, which
24   allowed the Court to make the finding that this case is so unusual or so complex, due
25   to the number of defendants, the nature of the prosecution, or the existence of novel
26   questions of fact or law, that it is unreasonable to expect adequate preparation for
27   pretrial proceedings or the trial itself within the time limits established by the Speedy
28                                               2
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 1   Trial Act. (See Docket Entry 43). In addition, the Court previously found from the
 2   record made with factual support, that time is to be excluded under local code T-4,
 3   that time is to be excluded for the reasonable time necessary for effective preparation
 4   by defense counsel and Title 18 U.S.C. section 3161(h)(8)(B)(iv), of the speedy trial
 5   act. Time was excluded under the Speedy Trial Act from August 28, 2008, to
 6   November 7, 2008. (See Docket Entry 43)
 7         On October 22, 2008, defendant De Yang (which would be the sixth defendant)
 8   was arraigned on the six (6) count Indictment. (See Docket Entry #52) The Court
 9   found that this case is complex pursuant to the Speedy Trial Act, Title 18 U.S.C.
10   section 3161(h)(8)(B)(ii) and local code T-2, which allowed the Court to make the
11   finding that this case is so unusual or so complex, due to the number of defendants,
12   the nature of the prosecution, or the existence of novel questions of fact or law, that it
13   is unreasonable to expect adequate preparation for pretrial proceedings or the trial
14   itself within the time limits established by the Speedy Trial Act. (See Docket Entry
15   43 and 52). In addition, the Court previously found from the record made with
16   factual support, that time is to be excluded under local code T-4, that time is to be
17   excluded for the reasonable time necessary for effective preparation by defense
18   counsel and Title 18 U.S.C. section 3161(h)(8)(B)(iv), of the speedy trial act. Time
19   was excluded under the Speedy Trial Act from October 22, 2008, to November 7,
20   2008. (See Docket Entry 43 and 52)
21                          DISCOVERY STATUS IN THE CASE
22         The government is in the process of continuing to produce discovery in this
23   case. To date, the government has produce approximately over 4,700 pages both on
24   CD’s and hard copy and approximately over 2,000 telephone calls of various time
25   duration. The defense is in the continuing process of reviewing this large amount of
26   discovery.
27         In addition, investigation by the defense is on going.
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 1         The parties stipulate and agree that time under the Speedy Trial Act shall
 2   continue be excluded up to and including Friday, January 16, 2009, under the
 3   Speedy Trial Act under Local Code T-2 (complexity of case) and Title 18 U.S.C.
 4   section 3161(h)(8)(B)(ii)and Local Code T-4 (time for defense counsel
 5   preparation) and Title 18 U.S.C. section 3161(h)(8)(B)(iv).
 6                                  Respectfully submitted,
 7                                  McGREGOR W. SCOTT
                                    UNITED STATES ATTORNEY
 8
                                    /s/ Michael M. Beckwith by e mail authorization
 9
     DATED: 11-5-08                 _____________________________________
10                                  Michael M. Beckwith
                                    ASSISTANT UNITED STATES ATTORNEY
11
12   DATED: 11-5-08
                                    /s/ Katherine E. Lothrop by Telephone authorization
13                                  ______________________________________
                                    Katherine E. Lothrop
14                                  Attorney for Defendant Keoudone N. Phaouthoum
15   DATED: 11-5-08                 /s/ Hayes H. Gable, III, by e mail authorization
                                    ______________________________________
16                                  Hayes H. Gable, III
                                    Attorney for Defendant Ting Thavisak
17
18   DATED 11-5-08                 /s/ J. Clark Head by Telephone authorization
                                    ________________________________________
19                                  J. Clark Head
                                    Attorney for Defendant Zi Lei
20
     DATED: 11-5-08                 /s/ Johnny L. Griffin, III by e mail authorization
21                                  ________________________________________
                                    Johnny L. Griffin, III
22                                  Attorney for Defendant John Li
23   DATED: 11-5-08                 /s/ David A. Grow by Telephone authorization
                                    _________________________________________
24                                  David A. Grow
                                    Attorney for Defendant De Yang
25
     DATED: 11-5-08                 /s/ James R. Greiner
26                                  _______________________________________
                                    James R. Greiner
27                                  Attorney for Defendant Koutkeo Thi
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 1
 2                                      ORDER
 3
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           FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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 6   Dated: November 6, 2008

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 8                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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